      Case 4:09-cr-00265-BRW            Document 196        Filed 01/20/11      Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                   4:09CR00265-03-BRW

SAMUEL GAYLON BAGGETT

                      ORDER DENYING DEFENDANT BAGGETT’S
                      MOTIONS FOR ACQUITTAL AND NEW TRIAL

       Pending are Defendant Baggett’s Motions for a Judgment of Acquittal and for a New

Trial (Doc. No. 194). The Prosecution has responded.1 For the reasons that follow, Defendant’s

Motions are DENIED.

       Mr. Baggett moves for a judgment of acquittal under Fed. R. Crim. P. 29 and for a new

trial under Fed. R. Crim. P. 33 on Count 6 (aiding and abetting a felon in possession of a

firearm), Count 7 (false statement to federal agents), and Count 9 (conspiracy to dispose of

ammunition to a felon). He contends there was insufficient evidence to sustain convictions on

these counts. At the close of the Prosecution’s case, and at the close of all the evidence, I denied

motions for a judgment of acquittal as a matter of law—this was because I believed the evidence

was sufficient to support sending the case to the jury for a determination. I am still of this mind,

so the motion based upon this ground will be denied.

       Mr. Baggett asks for a new trial because, he alleges, the Prosecution failed to disclose to

him before trial that Prosecution witness Ms. Dara Booth had been committed to the Arkansas

State Hospital by court order in 1997. As the Prosecution notes in its response to Mr. Baggett’s

motion, information regarding this civil commitment case was equally available to both sides,

i.e., it was a public record on file with the Pulaski County Circuit Clerk’s office. Additionally,


       1
        Doc. No. 195.

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       Case 4:09-cr-00265-BRW            Document 196         Filed 01/20/11      Page 2 of 2




even if the filing or granting of such a petition (the parties disagree as to whether the petition for

involuntary commitment was granted, but for present purposes this is irrelevant) would be

admissible under some circumstances (which I doubt2), it would be excluded here under Fed. R.

Evid. 403 (weak probative value, remote, undue prejudice). So, this motion will be denied.

       Mr. Baggett was acquitted on Count 2 (knowingly disposing of a firearm to a felon),

Count 3 (false statement by a federally licensed firearms dealer), and Count 4 (false statement to

federal agents). He contends that these acquittals and the convictions under Counts 6, 7, and 9

reflect inconsistent verdicts. They do not. As the Prosecution correctly points out in its

response, the counts upon which Defendant was acquitted included some different, separate

elements as compared to the counts upon which he was convicted—ergo the verdicts were not

inconsistent and Defendant’s Motion will be denied.

       Taking the record as a whole, Defendant Baggett’s Motions for a Judgment of Acquittal

and for a New Trial should be, and hereby are, DENIED.

       IT IS SO ORDERED this 20th day of January, 2011.



                                                               /s/Billy Roy Wilson
                                                         UNITED STATES DISTRICT JUDGE




       2
        See McCormick on Evidence § 44, at 206 (Kenneth S. Broun ed., 6th ed. 2006).

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